                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF MISSOURI

                                 CRIMINAL CASE COVER SHEET
 Division of Filing                          Place of Offense            Matter to be Sealed
   Western                  St. Joseph       Jackson                        Secret Indictment
   Central                  Southern         County and                     Juvenile
                                             elsewhere
   Southwestern

Defendant Information
Defendant Name              Preston L. Gillam
Alias Name
Birthdate                   08/21/1975

Related Case Information
Superseding Indictment/Information     Yes   No if yes, original case number
New Defendant                           Yes  No
Prior Complaint Case Number, if any 17-MJ-00178-JTM
Prior Target Letter Case Number, if any

U.S. Attorney Information
AUSA Jeffrey Q. McCarther

Interpreter Needed
   Yes       Language and/or dialect
  No

Location Status
Arrest Date October 2, 2017
  Currently in Federal Custody
  Currently in State Custody                      Writ Required            Yes        No
  Currently on Bond                               Warrant Required         Yes        No
U.S.C. Citations
Total # of Counts     1
  Set     Index Key/Code/Offense Level           Description of Offense Charged            Count(s)
                                             Possession With Intent to Distribute a
   1     21:841A=CD.F/6801/4                 Controlled Substance                             1
   2
   3
   4
   5



Date    10/25/17                     Signature of AUSA   /s/ Jeffrey Q. McCarther
